Layton v. Mainstage Management, Inc., Slip Copy (2023)
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                     2023 WL 4240151                                                 I. THE FLSA DISPUTE
 United States District Court, N.D. Texas, Dallas Division.
                                                                  Plaintiffs Layton and Shipley, exotic dancers at a Dallas-
             Brooke LAYTON, et al., Plaintiffs,                   area adult entertainment club, instituted this action under the
                             v.                                   Fair Labor Standards Act 1 (“FLSA”). Both Plaintiffs entered
             MAINSTAGE MANAGEMENT,                                into License and Lease Agreements (“Licensing Agreement”)
                 INC., et al., Defendants.                        with Mainstage's club. Defs.' App. Supp. Threshold Mot.
                                                                  Summ. J., Ex. A-1 Layton Licensing Agreement, Ex. A-2
              Civil Action No. 3:21-CV-1636-N                     Shipley Licensing Agreement [37]. Between them, Plaintiffs
                              |                                   worked at the club from 2018 until 2020, during which
                    Signed June 28, 2023                          time they allege Mainstage misclassified them as independent
                                                                  contractors and paid them below the federal minimum wage.
Attorneys and Law Firms
                                                                  Pls.' Am. Compl. ¶¶ 19, 21, 23, 27, 51–57 [21].
Jarrett L. Ellzey, Jr., Alexander Kykta, Leigh S. Montgomery,
Ellzey & Associates PLLC, Houston, TX, Ghazzaleh                  Plaintiffs initiated this case as a collective action purporting to
Rezazadeh, McLaurin Law, PLLC, Houston, TX, Mark A.               represent a class of similarly situated Mainstage employees.
Alexander, Mark A. Alexander PC, for Plaintiffs.                  Id. at ¶¶ 7, 75. In October 2022, the Court granted Mainstage's
                                                                  threshold motion for summary judgment regarding Plaintiffs'
Latrice Elder Andrews, Roger Earl Albright, T. Craig              collective action claims but allowed Plaintiffs' individual
Sheils, Sheils Winnubst PC, Richardson, TX, for Defendants        claims to continue. Mem. Op. & Order 6 [72]. Now, the Court
Mainstage Management Inc., Nick's Mainstage Inc., Nick            addresses the parties' various motions, including their cross-
Mehmeti.                                                          motions for summary judgment on the merits.

Latrice Elder Andrews, T. Craig Sheils, Sheils Winnubst PC,
Richardson, TX, for Defendant Dallas PTs.
                                                                           II. THE COURT GRANTS IN PART
                                                                        MAINSTAGE'S MOTION FOR SANCTIONS
        MEMORANDUM OPINION & ORDER                                Mainstage seeks sanctions of dismissal, or, in the alternative,
                                                                  attorney's fees, because Shipley failed to appear at a noticed
David C. Godbey, Chief United States District Judge
                                                                  deposition. Defs.' Mot. Sanctions 2–3. “Dismissal with
 *1     This Order addresses Defendants Mainstage                 prejudice ... is an extreme sanction that deprives a litigant of
Management, Inc., Nick's Mainstage, Inc. – Dallas PT's            the opportunity to pursue his claim.” Gonzalez v. Firestone
d/b/a PT Men's Club, and Nick Mehmeti's (collectively             Tire & Rubber Co., 610 F.2d 241, 247 (5th Cir. 1980). Such
“Mainstage”) motion for sanctions [52], Plaintiffs Brooke         dismissal is warranted only if “(1) there is a clear record
Layton and Ashlynn Shipley's motion for partial dismissal         of delay or contumacious conduct by the plaintiff and (2)
[54], Mainstage's motion for summary judgment [56],               lesser sanctions would not serve the best interests of justice.”
Mainstage's motion to compel [59], Plaintiffs' motion for         Brown v. Oil States Skagit Smatco, 664 F.3d 71, 77 (5th
summary judgment [82], and Mainstage's motion to dismiss          Cir. 2011) (internal citations omitted). Dismissal is more
for want of prosecution [103]. For the reasons set forth below,   appropriate if the fault lies with the client rather than the
the Court grants in part and denies in part Mainstage's motion    attorney. Brinkmann v. Abner, 813 F.2d 744, 749 (5th Cir.
for sanctions, Mainstage's motion for summary judgment, and       1987). However, “if the other party's preparation for trial
Plaintiffs' motion for summary judgment. Further, the Court       has not been substantially prejudiced, dismissal may well be
denies Mainstage's motion to compel and motion to dismiss,        inappropriate.” Id. (internal citations omitted).
and denies as moot Plaintiffs' motion for partial dismissal.
                                                                  Here, the Court determines that lesser sanctions would better
                                                                  serve the interests of justice. Although fault lies with Shipley
                                                                  rather than Plaintiffs' counsel, the Court finds dismissal
                                                                  inappropriate because Mainstage has not been substantially


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prejudiced. Following Shipley's failure to appear, the Court       Courts “shall grant summary judgment if the movant shows
granted Plaintiffs' motion to extend the discovery deadline.       that there is no genuine dispute as to any material fact and
Order 1 [78]. Both parties' subsequent failure to reschedule       the movant is entitled to judgment as a matter of law.” FED.
the deposition precludes a finding of substantial prejudice.       R. CIV. P. 56(a); Anderson v. Liberty Lobby, Inc., 477 U.S.
The Court thus denies Mainstage's motion for sanctions of          242, 247 (1986). In making this determination, courts must
dismissal. However, the Court grants Mainstage's alternative       view all evidence and draw all reasonable inferences in the
request for reimbursement of attorney's fees and costs, and        light most favorable to the party opposing the motion. United
will award the amount at final judgment.                           States v. Diebold, Inc., 369 U.S. 654, 655 (1962). The moving
                                                                   party bears the initial burden of informing the court of the
                                                                   basis for its belief that there is no genuine issue for trial.
                                                                   Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
             III. THE COURT DENIES
        MAINSTAGE'S MOTION TO COMPEL
                                                                   When a party bears the burden of proof on an issue, he “must
 *2 Mainstage's motion to compel challenges Layton                 establish beyond peradventure all of the essential elements
and Shipley's objections to its written discovery requests.        of the claim or defense to warrant judgment in his favor.”
However, the motion violates Federal Rule of Civil Procedure       Fontenot v. Upjohn Co., 780 F.2d 1190, 1194 (5th Cir. 1986)
37(a)'s requirement to meet and confer regarding the specific      (emphasis omitted). When the nonmovant bears the burden of
discovery dispute. See Samsung Elecs. Am. Inc. v. Chung,           proof, the movant may demonstrate entitlement to judgment
2017 WL 896897, at *13 (N.D. Tex. 2017); FED. R. CIV.              by either (1) submitting evidence that negates the existence of
P. 37(a)(1). Mainstage's certificate of conference makes no        an essential element of the nonmovant's claim or affirmative
mention of conferring with counsel for Shipley. Defs.' Mot.        defense, or (2) arguing that there is no evidence to support
Compel 6. Indeed, Shipley did not submit her discovery             an essential element of the nonmovant's claim or affirmative
response until after the dates Mainstage claimed to have           defense. Celotex, 477 U.S. at 322–25.
conferred with counsel for Layton. Id.; Defs.' App. Supp.
Mot. Compel 135 [60]. Further, Mainstage's motion does not         Once the movant has made the required showing, the burden
include any arguments or authority supporting its request          shifts to the nonmovant to establish that there is a genuine
for discovery. See Carter v. H2R Rest. Holdings, LLC, 2017         issue of material fact such that a reasonable jury might
WL 3724122, at *2 (N.D. Tex. 2017). (“The party seeking            return a verdict in its favor. Matsushita Elec. Indus. Co. v.
discovery ... may well need to make its own showing of many        Zenith Radio Corp., 475 U.S. 574, 586–87 (1986). Factual
or all of the proportionality factors.”). Accordingly, the Court   controversies are resolved in favor of the nonmoving party “
denies the motion.                                                 ‘only when an actual controversy exists, that is, when both
                                                                   parties have submitted evidence of contradictory facts.’ ”
                                                                   Olabisiomotosho v. City of Houston, 185 F.3d 521, 525 (5th
                                                                   Cir. 1999) (quoting McCallum Highlands, Ltd. v. Washington
         IV. THE COURT GRANTS IN PART
                                                                   Capital Dus, Inc., 66 F.3d 89, 92 (5th Cir. 1995)).
        AND DENIES IN PART THE CROSS-
       MOTIONS FOR SUMMARY JUDGMENT

Mainstage seeks summary judgment on Plaintiffs' overtime                 B. Plaintiffs Conceded Their Overtime Claims
claims, all claims against Mainstage Management, Inc.,
and Mainstage's counterclaims. Plaintiffs seek summary             The FLSA provides that no employer “shall employ any of his
judgment on Mainstage's counterclaims and affirmative              employees ... for a workweek longer than forty hours unless
defenses. Further, both parties seek summary judgment on           such employee receives compensation for his employment
                                                                   in excess of the hours above specified at a rate not less
Plaintiffs' employee status under the FLSA. 2
                                                                   than one and one-half times the regular rate at which he is
                                                                   employed.” 29 U.S.C. § 207 (a)(1). Here, Mainstage argues
                                                                   that Plaintiffs' overtime claims fail because they admitted to
              A. Summary Judgment Standard                         never working more than forty hours in a workweek. Defs.'
                                                                   Br. Supp. Mot. Summ J. 13 [57]; Defs.' Suppl. App. Supp.
                                                                   Threshold Mot. Summ. J., Ex. D, Pls.' First. Am. Disclosures



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5–6 [50] (calculating 32-hour workweek for both Plaintiffs).
Indeed, Plaintiffs sought dismissal of their overtime claims.
                                                                                   D. There Are Factual Issues
Pls.' Mot. Partial Dismissal 1. Because there is no genuine
                                                                               Regarding Plaintiffs' Employee Status
dispute of material fact, the Court grants Mainstage's motion
for summary judgment regarding Plaintiffs' overtime claims.         Plaintiffs must establish that they were “employees” under
The Court thus denies Plaintiffs' motion for partial dismissal      the FLSA to succeed on their minimum wage claims. See
as moot.                                                            29 U.S.C. § 206 (a). To determine whether an individual is
                                                                    an independent contractor or employee, courts in this circuit
                                                                    asses five “economic realities”:
             C. Mainstage Management, Inc. Is
             Not an Employer Under The FLSA
                                                                                 (1) the degree of control exercised
 *3 The FLSA defines “employer” as “any person acting                            by the alleged employer; (2) the
directly or indirectly in the interest of an employer in relation                extent of the relative investments of
to any employee.” 29 U.S.C. § 203(d). To determine whether                       the worker and the alleged employer;
an entity is an employer under the FLSA, the Fifth Circuit                       (3) the degree to which the worker's
employs the “economic reality test.” Gray v. Powers, 673                         opportunity for profit or loss is
F.3d 352, 354 (5th Cir. 2012). The test considers whether the                    determined by the alleged employer;
alleged employer: “(1) possessed the power to hire and fire                      (4) the skill and initiative required
the employees, (2) supervised and controlled employee work                       in performing the job; and (5) the
schedules or conditions of employment, (3) determined the                        permanency of the relationship.
rate and method of payment, and (4) maintained employment
records.” Id. at 355 (citing Watson v. Graves, 909 F.2d 1549,
1556 (5th Cir. 1990)).                                              Hobbs v. Petroplex Pipe & Constr., Inc., 946 F.3d 824,
                                                                    829 (5th Cir. 2020). “No single factor is determinative.”
Mainstage has shown that Mainstage Management, Inc. is
                                                                    Id. Although the ultimate determination of employee status
not an employer under the FLSA. Mehmeti, the owner of
                                                                    is a finding of law, the analysis is “very fact dependent.”
Mainstage Management, testified that the company's only
                                                                    Parrish v. Premier Directional Drilling, L.P., 917 F. 3d 369,
involvement with the club was bookkeeping and accounting.
                                                                    380 (5th Cir. 2019) (internal citation omitted). A court may
Defs.' App. Supp. Mot. Summ. J., Ex. F., Nick Mehmeti
                                                                    award summary judgment on FLSA employee status only if
Dep. 30:11–31:23 [58]. He further testified that Mainstage
                                                                    “facts pointing in both directions ... do not generate a genuine
Management did not supervise the employees, was not
                                                                    dispute of material fact.” Id. (internal citation omitted).
involved in hiring or firing employees, and did not maintain
employment records. Id. Plaintiffs did not respond to this
                                                                    Here, there are numerous competing facts regarding Plaintiffs'
testimony nor raise any evidence showing that Mainstage
                                                                    status under the FLSA. On the one hand, Plaintiffs have
Management is an employer. See generally Pls.' Resp. Br.
                                                                    presented evidence suggesting that they were employees.
Opp. Defs.' Mot. Summ. J. [93]. And the Court will not
                                                                    Mainstage exercised control by requiring dancers to work at
search the record for evidence that creates genuine issues as
                                                                    least four shifts a week, wear costumes matching a monthly
to a material fact. See Malacara v. Garber, 353 F.3d 393,           theme, and participate in the stage rotation. Defs.' App.
405 (5th Cir. 2003). Applying the economic realities test           Supp. Mot. Summ. J., Ex. H, Brooke Layton Dep. 33:6–17,
to Mehmeti's unrefuted testimony, the Court concludes that          88:18–89:22. Further, dancers faced fines for missing stage
no reasonable jury could find Mainstage Management to be            appearances and not adhering to the schedule. Layton Dep.
an employer under the FLSA. See Gray, 673 F.3d at 357               30:1–10, 92:1–17. Plaintiffs' position as dancers also did not
(holding that a defendant with no control over any aspect           require special skills, id. at 45:3–6, and Plaintiffs' investment
of the employment relationship was not an employer under            in performance attire was minimal compared to Mainstage's
the FLSA). Accordingly, the Court grants Mainstage's motion
                                                                    investment in the club. Id. at 46:6–47:2
for summary judgment regarding claims against Mainstage
Management.
                                                                     *4 On the other hand, Mainstage has produced evidence
                                                                    indicating that Plaintiffs were independent contractors.


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Plaintiffs set their own schedules, worked for other clubs,         fees as barred by Heard); Jones v. JGC Dall. LLC, 2012 WL
chose how much to charge for dances, and kept all the money         4119570, at *4 (N.D. Tex. 2012) (“[T]he dance fees sought as
they earned. Defs.' App. Supp. Opp. Pls.' Mot. Summ. J.,            a set-off do not represent wages pre-paid to Plaintiffs or wage
Ex. 7, Julia Predmore Dep. 16:2–16, 25:10–21, 39:10–12,             obligations already fulfilled.”), report & recommendation
47:23–48:1 [90-6]; Layton Dep. 39:18–25. Thus, Plaintiffs'          adopted by 2012 WL 4169685 (N.D. Tex. 2012); Rafeedie
opportunity for profit or loss depended in part on their            v. L.L.C., Inc., 2011 WL 13324296, at *2 (W.D. Tex. 2011).
schedule and customer interaction. Plaintiffs' roles were also      Accordingly, the Court holds that Mainstage's counterclaims
transient in nature; Layton took breaks from the club for           are barred by Heard, and grants summary judgment to
several months at a time. Layton Dep. 51:25–52:6.                   Plaintiffs. 3

Having considered the relevant factors, the Court
concludes that there are genuine disputes of material fact
regarding whether Plaintiffs were employees or independent                    F. Mainstage's Affirmative Defenses Fail
contractors. A jury is best suited to make the relevant findings
                                                                    Plaintiffs seek summary judgment on several of Mainstage's
of fact, particularly when, as here, both parties rely entirely
                                                                    affirmative defenses. The Court addresses each defense in
on witness testimony. Lopez v. Reliable Clean-Up & Support
                                                                    turn.
Servs., LLC, 2018 WL 3609271, at *11 (N.D. Tex. 2018)
(“[T]he jury's weighing of the proof and assessment of the
                                                                    1. Waiver/Equitable Estoppel/Consent/Ratification (Third
pertinent [FLSA] factors may hinge on an assessment of
                                                                    Affirmative Defense), Unclean Hands (Seventh Affirmative
the credibility of the witnesses. This type of resolution is
                                                                    Defense), and Estoppel (Ninth Affirmative Defense). – “It
appropriate for a trier of fact, not for the court at the summary
                                                                    is unclear whether the equitable defenses of waiver, estoppel,
judgment stage.”). Accordingly, the Court denies both parties'
                                                                    and unclean hands are available under the FLSA.” Tran v.
motions for summary judgment regarding Plaintiffs' FLSA
                                                                    Thai, 2010 WL 5232944, at *7 (S.D. Tex. 2010). Indeed,
employee status.
                                                                    many courts have held that such defenses are unavailable
                                                                    or limited. See, e.g., Mencia v. Allred, 808 F.3d 463, 470
                                                                    (10th Cir. 2015), Perez-Nunez v. N. Broward Hosp. Dist., 2009
E. Mainstage's Counterclaims Are Precluded by the FLSA              WL 723873, at *2 (S.D. Fla. 2009). The Fifth Circuit has
                                                                    once held, on narrow facts, that a plaintiff was estopped from
Next, both parties seek summary judgment on Mainstage's             recovery under the FLSA. Brumbelow v. Quality Mills, Inc.,
counterclaims for breach of contract, unjust enrichment, and        462 F.2d 1324, 1327 (5th Cir. 1972).
attorney's fees. The Fifth Circuit has held that “set-offs
and counterclaims are inappropriate in any case brought to           *5 Assuming that equitable defenses apply in this case, the
enforce the FLSA's minimum wage and overtime provisions.”           Court concludes that Mainstage has not met its burden of
Martin v. PepsiAmericas, Inc., 628 F.3d 738, 741 (5th Cir.          showing genuine disputes of material fact. Plaintiffs properly
2010); Brennan v. Heard, 491 F.2d 1, 4 (5th Cir. 1974).             identified that Mainstage lacks a factual or legal basis to
However, there is a narrow exception to the Heard rule that         recover on its equitable defenses. Pls.' Br. Supp. Mot. Summ.
allows set-offs for pre-payments of wages that do not cause         J. 10–13 [83]. In its response, Mainstage failed to provide
the employee's award to drop below the statutory minimum            any legal or factual support in favor of its affirmative
wage. Singer v. Waco, 324 F.3d 813, 828 (5th Cir. 2003). Here,      defenses. See Defs.' Resp. Br. Opp. Pls.' Mot. Summ J.
Mainstage contends that the entertainment fees Plaintiffs           38 (arguing only that the law being “unclear” precludes a
received from customers constitute prepaid wages. Defs.'            summary judgment finding); see also Soto v. William's Truck
Resp. Br. Opp. Pls.' Mot. Summ J. 29. The Court disagrees.          Service, Inc., 2013 WL 487070, at *3 (N.D. Tex. 2013)
                                                                    (granting summary judgment to plaintiff where defendant
First, Heard applies even though Plaintiffs' employee status        did not satisfy its burden to produce evidence supporting its
under the FLSA is unresolved. See Naranjo v. Nick's                 affirmative defense). Accordingly, the Court grants Plaintiffs'
Management, Inc., 2022 WL 3139755, at *6 n.6 (N.D.                  motion for summary judgment on Mainstage's third, seventh,
Tex. 2022). Second, numerous courts have rejected similar           and ninth affirmative defenses.
attempts to recharacterize entertainment fees as prepaid
wages. Id. at *6 (dismissing counterclaims for entertainment



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2. Condition Precedent (Fifth Affirmative Defense). –
Mainstage argues that Plaintiffs' claims fail because the                         II. THE COURT DENIES
Licensing Agreement required notice before asserting                         MAINSTAGE'S MOTION TO DISMISS
employee status. Defs.' Answer ¶ 142 [42]. The Court has
already ruled that this provision is not a condition precedent      Mainstage seeks dismissal for want of prosecution because
and that Plaintiffs' claims were proper. Mem. Op. & Order 6         Plaintiffs failed to file pre-trial materials two weeks before
[72]. Thus, the Court grants summary judgment to Plaintiffs         trial. Defs.' Mot. Dismiss 1. But neither party filed materials
on Mainstage's fifth affirmative defense.                           by the Court's required 30 days before trial. See Scheduling
                                                                    Order 3 [14]. Further, the Court stayed the trial date pending
3. Failure to Mitigate (Sixth Affirmative Defense). – As            resolution of the cross-motions for summary judgment. Order
a matter of law, FLSA plaintiffs have no duty to mitigate           [104]. Accordingly, the Court denies Mainstage's motion to
damages. Tran, 2010 WL 5232944, at *7. Accordingly, the             dismiss.
Court grants summary judgment to Plaintiffs on Mainstage's
sixth affirmative defense.
                                                                                           CONCLUSION
4. Offset/Unjust Enrichment (Eighth Affirmative Defense).
– As discussed in Section IV.E, offsets are impermissible           For the reasons set forth above, the Court orders as follows:
in FLSA actions. The Court thus grants Plaintiffs' motion
for summary judgment on Mainstage's eighth affirmative                • Mainstage's motion to dismiss is granted in part. Shipley's
defense.                                                                 claims remain but the Court will award Mainstage
                                                                         attorney's fees and costs at final judgment.
5. In Pari Delicto (Eleventh Affirmative Defense). – The in
                                                                       *6 • Mainstage's motion to compel is denied.
pari delicto defense “derives from the Latin, in pari delicto
potior est conditio defendentis: ‘In case of equal or mutual          • Plaintiffs' motion for partial dismissal is denied as moot.
fault ... the position of the [defending] party ... is the better
one.’ ” Rogers v. McDorman, 521 F.3d 381, 385 (5th Cir.               • Mainstage's motion for summary judgment is granted
2008) (alterations in original) (quoting Bateman Eichler,               as to Plaintiffs' overtime claims and claims against
Hill Richards, Inc. v. Berner, 472 U.S. 299, 306 (1985)).               Mainstage Management, Inc. The motion is denied
The defense may bar recovery under a federal statute if (1)             as to Plaintiffs' employee status and Mainstage's
plaintiffs bear at least equal responsibility for the violation         counterclaims.
they seek to address and (2) preclusion of the suit would not
                                                                      • Plaintiffs motion for summary judgment is granted as to
interfere with the statute's policy goals. Berner, 472 U.S. at
                                                                         Mainstage's counterclaims and Mainstage's third, fifth,
310–11.
                                                                         sixth, seventh, eighth, ninth, and eleventh affirmative
                                                                         defenses. The motion is denied as to Plaintiffs' employee
As discussed in Section IV.F. 1, it is unclear whether this
                                                                         status.
equitable defense is available in FLSA actions. Regardless,
however, Mainstage has not shown that Plaintiffs bear at              • Mainstage's motion to dismiss for want of prosecution is
least equal responsibility in the alleged FLSA violation.               denied.
Mainstage argues that Plaintiffs failed to maintain records,
did not properly file taxes, attempted to join a collective         The Court will, by separate order, reset this case for trial.
action, and refused to return entertainment fees. Defs.' Br.
Opp. Pls.' Mot. Summ. J. 39. But none of these actions render
Plaintiffs even partially responsible for Mainstage's alleged       All Citations
failure to pay a minimum wage. Accordingly, the Court
grants Plaintiffs' motion for summary judgment regarding            Slip Copy, 2023 WL 4240151, 2023 Wage & Hour Cas.2d
Mainstage's eleventh affirmative defense.                           (BNA) 220,695




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                                                   Footnotes


1     Codified at 29 U.S.C. § 201, et seq.

2     Mainstage also raises several objections to Plaintiffs' summary judgment evidence. Defs.' Resp. Br. Opp.
      Pls.' Mot. Summ. J. 8–10. Because there are genuine disputes of material fact without such evidence, see
      Section IV. D, the Court declines to consider the objections.

3     Mainstage also argues that Plaintiffs waived any defense to the counterclaims because they did not file an
      answer. But Plaintiffs did file an answer. See generally Pls' Resp. Counterclaims [11].



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